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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA

In re:

JEFFREY MARK GALLUPS                                                   Case No. 24-12653-SMG
                                                                       Chapter 7
                Debtor          /

      MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE TRUSTEE
 TO SELL THE DEBTOR’S INTERESTS IN CERTAIN LIFE INSURANCE POLICIES

         Sonya Salkin Slott (the “Trustee”), as Chapter 7 Trustee for the bankruptcy estate of Jeffrey

Mark Gallups (the “Debtor”), by and through undersigned counsel, hereby files her Motion for

Entry of an Order Authorizing the Trustee to Sell the Debtor’s Interests in Certain Life Insurance

Policies, and states in support thereof as follows:

                       PROCEDURAL AND FACTUAL BACKGROUND

         1.     On March 21, 2024 (the “Petition Date”), the Debtor filed a voluntary Chapter 13

petition [ECF No. 1].

         2.     On April 10, 2024 (the “Conversion Date”), the Debtor filed a Notice of Voluntary

Conversion [ECF #27].

         3.     On April 11, 2024, Sonya Salkin Slott was appointed as acting Chapter 7 Trustee

[ECF #34].

         4.     On April 10, 2024, the Debtor filed his Initial Schedules A-J, and Statement of

Financial Affairs (“Schedules”) [ECF #29].

         5.     The Trustee has learned that the debtor is the owner of numerous life insurance

policies that are insured against retired doctors of his former medical practice.

         6.     The life insurances are not listed on Schedule B nor claimed as exempt on Schedule

C.


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        7.       The Trustee has located two life insurance policies with Mass Mutual that are

insured on Dr. Mark Beaty with positive net cash value:

              a. Policy ending x0257 with net cash value of $10,524.82; and

              b. Policy ending x6496 with a net cash value of $351.60 (collectively, the “Policies”). 1

        8.       Dr. Beaty has agreed to pay $25,000.00 to purchase the Estate’s interest in the

Policies, as-is-where-is, with limited representations or warranties. A copy of the executed

purchase agreement (“Purchase Agreement”) is attached as Exhibit “A”.

        9.       The Trustee has been unable to locate any additional purchasers for the Policies,

and has via separate motion sought the Court’s authorization to terminate other, unsold policies to

recover their net cash value.

        10.      Bankruptcy Code §363(b)(1) provides an avenue for the Trustee, after notice and a

hearing, to use property of the estate other than in the ordinary course of business. This section

specifically states: “[t]he trustee, after notice and a hearing, may use, sell or lease, other than in

the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1).

        11.      Courts should approve the use of the estate property under Bankruptcy Code

Section 363(b)(1) when the trustee articulates “some business justification,” In re Continental

Airlines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986), or when the decision to use estate property is

“good business judgment.” Matter of St. Petersburg Hotel Assoc., Ltd., 37 B.R. 341, 343 (Bankr.

M.D. Fla. 1983) (citing In re Schear Realty and Investment Co., Inc. 25 B.R. 461 (S.D. Ohio

1982)); Comm. Of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070

(2d Cir. 1983); Institutional Creditors of Cont’l Airlines v. Cont’l Airlines, Inc. (In re Cont’l

Airlines, Inc.), 780 F.2d 1223, 1226 (5th Cir. 1986); In re Chateaugay Corp., 973 F.2d 141, 143


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 The net cash values provided are good through early March but some adjustments to present net cash value may
have occurred.

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(2d Cir. 1992); In re Martin, 91 F.3d 389, 395 (3d Cir. 1996) (citing Fulton State Bank v. Schipper

(In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)).

       12.     By permitting the Trustee to sell the Policies, the Trustee would be able to collect

$25,000.00 to maximize the pool of assets available for creditors of the Debtor’s estate, and recover

an enhanced value for the Policies through the proposed sale as opposed to terminating them.

       13.     Accordingly, the Trustee respectfully requests this Court to enter an Order

authorizing her (in the exercise of her business judgment) to sell the Policies upon the terms set

forth in the attached Purchase Agreement, and executing any documents necessary in connection

with the proposed sale.

       WHEREFORE, the Trustee respectfully requests this Court to enter an Order (i) granting

the Motion; (ii) authorizing the Trustee to sell the Policies upon the terms set forth in the attached

Purchase Agreement, and to execute any documents necessary in connection with the sale; and

(iii) providing such further relief as the Court may deem appropriate.

Dated: June 14, 2024                                          By:/s/ Zachary Malnik
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